Case 8

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LORI ANETTE FITZGERALD, 8:19-CV-01322-JFW-DFM
PROPOSED ORDER AWARDING
ATTORNEY FEES UNDER THE
EQUAL ACCESS TO JUSTICE

)
)
Plaintiff, )
) ACT, PURSUANT TO 28 U.S.C.
)
)
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)
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V.

COMMISSIONER OF THE SOCIAL
SECURITY ADMINISTRATION,

§ 2412(d), AND COSTS, PURSUANT
TO 28 US.C, § 1920

Defendant.

 

Based upon the parties’ Stipulation for the Award and Payment of Equal
Access to Justice Act (EAJA) Fees and Costs, IT IS ORDERED that Plaintiff shall
be awarded attorney fees under the EAJA in the amount of FFVE HUNDRED
DOLLARS ($500.00), and costs under 28 U.S.C. § 1920, in the amount of NINE
HUNDRED AND FIVE DOLLARS ($905.00), subject to the terms of the above-

referenced Stipulation.

Dated: November 16, 2021 +
Dougias F. McCormick *

United States Magistrate Judge

 

 

 
